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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ALABAMA
                             NORTHERN DIVISION


        KORDELL T. SHARP,1                     :

                Petitioner,                    :

        vs.                                    : CIVIL ACTION NO. 09-0188-CG-C

        UNITED STATES OF                       : CRIMINAL ACTION NO. 06-0176-CG
        AMERICA,
                                               :
                Respondent.


                           REPORT AND RECOMMENDATION

                Petitioner, Kordell T. Sharp, a federal prison inmate proceeding pro se,

        has filed a motion to vacate, set aside or correct his sentence pursuant to 28

        U.S.C. § 2255 (Doc. 672). This action has been referred to the undersigned for

        entry of a report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B).

        It is recommended that Sharp’s § 2255 motion be denied.




        1
                 At times in the record of this case, petitioner is referred to as “Kodell” Sharp
 while at other times he is referred to as “Kordell” Sharp. (Compare Doc. 369 (plea agreement
 and factual resume refer to petitioner as “Kodell” Sharp) with Docs. 561 & 562 (during guilty
 plea and sentencing proceedings, petitioner is referred to as “Kordell” Sharp)) The undersigned
 has referred to petitioner in the style of this case as “Kordell” Sharp inasmuch as that is the name
 he has typed on the front page of his § 2255 petition. (See Doc. 672, at 1)
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                                    FINDINGS OF FACT

               1.      On July 27, 2006, Sharp was charged by indictment with one

        count of conspiracy to possess with intent to distribute marijuana, cocaine and

        more than 50 grams of cocaine base, i.e., crack cocaine, in violation of 21

        U.S.C. § 846, one count of possession with intent to distribute crack cocaine

        and marijuana (on January 18, 2006) in violation of 21 U.S.C. § 841(a)(1), and

        one count of possession with intent to distribute cocaine (on February 28,

        2006) in violation of 21 U.S.C. § 841(a)(1). (Doc. 1) By superseding

        indictment, filed in open court on August 31, 2006, Sharp was again charged

        with one count of conspiracy to possess with intent to distribute marijuana,

        cocaine and more than 50 grams of crack cocaine in violation of 21 U.S.C. §

        846, one count of possession with intent to distribute crack cocaine and

        marijuana (on January 18, 2006) in violation of 21 U.S.C. § 841(a)(1), and one

        count of possession with intent to distribute cocaine (on February 28, 2006) in

        violation of 21 U.S.C. § 841(a)(1). (Doc. 199)2

               2.      Sharp, through his attorney, notified the Court of his intent to

        plead guilty during a pretrial conference conducted on December 12, 2006.

        (Doc. 359)


        2
                The superseding indictment added a forfeiture count with respect to all named
 defendants. (See id., Count Thirty-Five)

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              3.     On December 21, 2006, the parties filed a plea agreement and

       factual resume with the Court. (Doc. 369) The plea agreement, reads, in

       relevant part, as follows:

                                    PLEA AGREEMENT

                     The defendant, KODELL T. SHARP, represented by his
              counsel, and the United States of America have reached a Plea
              Agreement in this case, pursuant to Rule 11 of the Federal Rules
              of Criminal Procedure, the terms and conditions of which are as
              follows:

                            RIGHTS OF THE DEFENDANT

                    1.      The defendant understands his/her rights as
              follows:

                            a.      To be represented by an attorney;

                            b.      To plead not guilty;

                            c.      To have a trial by an impartial jury;

                           d.     To confront and cross-examine witnesses
              and to call witnesses and produce other evidence in his/her
              defense;

                            e.      To not be compelled to incriminate
              himself/herself.

                   WAIVER OF RIGHTS AND PLEA OF GUILTY

                     2.     The defendant waives rights b through e, listed
              above, and pleads guilty to Count 1 of the Superseding
              Indictment, charging a violation of Title 21 United States Code,
              Section 846, conspiracy to possess with the intent to distribute


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            controlled substances.

                                        .       .      .

                   4.     The defendant expects the Court to rely upon
            his/her statements here and his/her response to any questions
            that he/she may be asked during the guilty plea hearing.

                   5.     The defendant is not under the influence of
            alcohol, drugs, or narcotics. He/She is certain that he/she is in
            full possession of his/her senses and mentally competent to
            understand this Plea Agreement and the guilty plea hearing
            which will follow.

                   6.      The defendant has had the benefit of legal counsel
            in negotiating this Plea Agreement. He/She has discussed the
            facts of the case with his/her attorney, and his/her attorney has
            explained to the defendant the essential legal elements of the
            criminal charge(s) which has/have been brought against him/her.
            The defendant’s attorney has also explained to the defendant
            his/her understanding of the United States’ evidence.

                   7.    The defendant understands that the United States
            has the burden of proving each of the legal elements of the
            criminal charge(s) beyond a reasonable doubt. The defendant
            and his/her counsel have discussed possible defenses to the
            charge(s). The defendant believes that his/her attorney has
            represented him/her faithfully, skillfully, and diligently, and
            he/she is completely satisfied with the legal advice of his/her
            attorney.

                    8.    A separate document, entitled Factual Resume,
            will be submitted to the Court as evidence at the guilty plea
            hearing. The Factual Resume is incorporated by reference into
            this Plea Agreement. The defendant and the United States agree
            that the Factual Resume is true and correct.

                   9.     This plea of guilty is freely and voluntarily made


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            and is not the result of force, threats, promises, or
            representations apart from those set forth in this Plea
            Agreement. There have been no promises from anyone as to the
            particular sentence that the Court may impose. The defendant
            avers that he/she is pleading guilty because he/she knows that
            he/she is guilty.

                                      PENALTY

                  10.    The maximum penalty the Court could impose as
            to Count One of the Superseding Indictment is:

                          a.     10 years to life imprisonment;

                          b.     A fine not to exceed $4,000,000;

                          c.     A term of supervised release of 5 years,
            which would follow any term of imprisonment. If the defendant
            violates the conditions of supervised release, he/she could be
            imprisoned for the entire term of supervised release; and

                          d.     A mandatory special assessment of
            $100.00.

                                   SENTENCING

                   11.     The Court will impose the sentence in this case.
            The United States Sentencing Guidelines apply in an advisory
            manner to this case. The defendant has reviewed the application
            of the Guidelines with his/her attorney and understands that no
            one can predict with certainty what the sentencing range will be
            in this case until after a pre-sentence investigation has been
            completed and the Court has ruled on the results of that
            investigation. The defendant understands that at sentencing, the
            Court may not necessarily sentence the defendant in accordance
            with the Guidelines. The defendant understands that he/she will
            not be allowed to withdraw his/her guilty plea if the applicable
            guideline range is higher than expected, if the Court departs


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            from the applicable advisory guideline range, or if the Court
            imposes a sentence notwithstanding the Guidelines.

                   12.     The United States may provide all relevant
            sentencing information to the Probation Office for purposes of
            the pre-sentence investigation. Relevant sentencing information
            includes, but is not limited to, all facts and circumstances of this
            case and information concerning the defendant’s conduct and
            background.

                   13.    The defendant understands that this Plea
            Agreement does not create any right to be sentenced in
            accordance with the Sentencing Guidelines, or below or within
            any particular guideline range, and fully understands that
            determination of the sentencing range or guideline level, or the
            actual sentence imposed, is solely the discretion of the Court.

                    14.    Both the defendant and the United States are free
            to allocute fully at the time of sentencing.

                                             .   .       .


                        UNITED STATES’ OBLIGATIONS

                   16.    The United States will not bring any additional
            charges against the defendant related to the facts underlying the
            Superseding Indictment and will move to dismiss Counts
            Thirteen and Fourteen at sentencing. This agreement is limited
            to the United States Attorney’s Office for the Southern District
            of Alabama and does not bind any other federal, state, or local
            prosecuting authorities.

                    17.   The United States will recommend to the Court
            that the defendant be sentenced at the low end of the applicable
            advisory sentencing guideline range as determined by the Court.

        APPLICATION OF U.S.S.G. § 5K1.1 AND/OR FED.R.CRIM.P. 35


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                   18.   If the defendant agrees to cooperate with the
            United States, he/she agrees to the following terms and
            conditions:


                                         .       .      .

                           g.      If the defendant provides full, complete,
            truthful and substantial cooperation to the United States, which
            results in substantial assistance to the United States in the
            investigation or prosecution of another criminal offense, a
            decision specifically reserved by the United States in the
            exercise of its sole discretion, then the United States agrees to
            move for a downward departure in accordance with Section
            5K1.1 of the United States Sentencing Guidelines or Rule 35 of
            the Federal Rules of Criminal Procedure, whichever the United
            States deems applicable. The United States specifically reserves
            the right to make the decision relating to the extent of any such
            departure request made under this agreement based upon its
            evaluation of the nature and extent of the defendant’s
            cooperation. The defendant understands that the United States
            will make no representation or promise with regard to the exact
            amount of reduction, if any, the United States might make in the
            event that it determines that the defendant has provided
            substantial assistance. The defendant understands that a mere
            interview with law enforcement authorities does not constitute
            substantial assistance for this purpose. The defendant also
            understands that should he/she provide untruthful information
            to the United States at any time, or should he/she fail to disclose
            material facts to the United States at any time, the United States
            will not make a motion for downward departure. If the
            defendant’s effort to cooperate with the United States does not
            amount to substantial assistance as determined solely by the
            United States, the United States agrees to recommend to the
            district court judge who sentences the defendant that the
            defendant receive a sentence at the low end of the applicable
            advisory guideline range.



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                                           .       .     .


             LIMITED WAIVER OF RIGHT TO APPEAL SENTENCE

                     19.     The defendant acknowledges that he/she is aware
              that 18 U.S.C. § 3742 affords a defendant the right to appeal the
              sentence imposed. In exchange for the recommendations made
              by the United States in this Plea Agreement, the defendant
              knowingly and voluntarily waives the right to appeal any
              sentence imposed in this case.

                     20.     With the limited exceptions noted below, the
              defendant also waives his/her right to challenge any sentence so
              imposed, or the manner in which it was determined, in any
              collateral attack, including but not limited to, a motion brought
              under 28 U.S.C. § 2255.

                     21.    The defendant reserves the right to contest in an
              appeal or post-conviction proceeding any of the following:

                           a.    Any punishment imposed in excess of the
              statutory maximum;

                           b.     Any punishment that constitutes an upward
              departure from the guideline range; or

                            c.      A claim of ineffective assistance of
              counsel.

                      22.    In addition, the defendant reserves the right to
              petition the Court for resentencing pursuant to 18 U.S.C. § 3582
              in the event of a future retroactive amendment to the Sentencing
              Guidelines which would affect the defendant’s sentence.

       (Id. at 1, 2-4, 4-5, 7-8 & 9-10 (emphasis in original)) Appearing before Sharp’s

       signature line on page 11of the agreement is this paragraph: “I have consulted


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       with my counsel and fully understand all my rights with respect to the

       offenses(s) charged in the Superseding Indictment pending against me. I have

       read this Plea Agreement and carefully reviewed every part of it with my

       attorney. I understand this agreement, and I voluntarily agree to it. I hereby

       stipulate that the Factual Resume,3 incorporated herein, is true and

       3
              The Factual Resume, which Sharp also signed, reads as follows:

               The defendant, KODELL T. SHARP, admits the allegations of Count 1
       of the Superseding Indictment.

                              ELEMENTS OF THE OFFENSE

               SHARP understands that in order to prove a violation of Title 21, United
       States Code, Section 846, as charged in Count 1 of the Superseding Indictment,
       the United States must prove:

              1.      That two or more persons in some way or manner, came to a
                      mutual understanding to conspire to distribute controlled
                      substances.

              2.      That the defendant knowingly and willfully became a member of
                      such conspiracy.

                                    OFFENSE CONDUCT

               Defendant, KODELL T. SHARP, admits in open court and under oath
       that the following statement is true and correct and constitutes evidence in this
       case.

               During the dates charged in the conspiracy count of the indictment, the
       defendant KODELL T. SHARP did knowingly and willfully conspire and agree
       with others named in the Superseding Indictment to distribute and possess with
       intent to distribute crack cocaine on Saint Phillips Street, Selma, Alabama, and
       elsewhere. Agents from Alcohol, Tobacco, Firearms and Explosives, in
       conjunction with officers from [the] Selma, Alabama police department began

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      accurate in every respect, and that had the matter proceeded to trial, the

      United States could have proven the same beyond a reasonable doubt.”

      (Id. (emphasis supplied))

             4.     That same date, Sharp entered a counseled guilty plea to Count

      One of the Superseding Indictment. (Doc. 561, Guilty Plea Transcript; see also

      Doc. 370)


                   THE COURT:             All right. Would you place the
             defendants under oath?

                    THE CLERK:            Yes, ma’am. Mr. Sharp, raise your


      looking into illegal sales of narcotics in the 1400 block of St. Phillips Street,
      Selma, Alabama in the early Spring of 2005. By use of pole cameras located at
      each end of the block, informants, undercover purchases, and “pick-offs” of drug
      purchasers, agents determined that SHARP and the others named in the
      indictment worked together to sell various amounts of crack cocaine, cocaine, and
      marijuana to individuals who either drove by or walked up to meet with the
      various drug dealers, including SHARP. The group purchased their drugs from
      outside sources. This investigation lasted up through August 2, 2006. The
      defendant agreed with Ford and others to distribute and possess with intent to
      distribute in excess of 50 grams of cocaine base, also known as crack cocaine
      within the Selma area; however, the United States and the defendant do not have
      an agreement as to the exact amount of crack cocaine for which the defendant
      shall be held accountable for purposes of relevant conduct, and both parties are
      free to present their respective positions at sentencing for the Court’s
      determination of this issue by the preponderance of evidence.

(Doc. 369, FACTUAL RESUME, at 1-2)




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           right hand. . . .

           (The defendants were sworn.)

                                          .         .     .

                    DEFENDANT SHARP:                Yes, ma’am.

                  THE COURT:            All right. Now, I’m going to be
           asking you a series of questions and sometimes it will seem like
           you need to answer at the same time. But my court reporter
           needs to take down your answers individually. And so when I
           ask you that kind of question, Mr. Sharp, if you will answer first
           and then you Mr. Jones. All right?

                                          .         .     .

                  THE COURT:           . . . Do each of you understand that
           you are now under oath and if you answer any of my questions
           falsely, your answers may later be used against you in a separate
           prosecution for perjury or for making a false statement?

                    DEFENDANT SHARP:                Yes, ma’am.

                                          .         .     .

                    THE COURT:            Mr. Sharp, what is your full name?

                    DEFENDANT SHARP:                Kordell T. Sharp.

                    THE COURT:            And how old are you?

                    THE DEFENDANT:                  19 – I just turned 20. I’m
           sorry.

                    THE COURT:            Just turned 20?

                    DEFENDANT SHARP:                Yes, December the 1st.


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                  THE COURT:           How far did you go in school?

                  THE DEFENDANT:                 College.

                  THE COURT:           You’re in college now?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                  THE COURT:          All right. Have either of you been
           treated recently for any mental illness or addiction to narcotic
           drugs of any kind?

                  DEFENDANT SHARP:               Yes, ma’am.

                  THE COURT:           Tell me about that.

                  DEFENDANT SHARP:               I went to Mission of Hope
           drug/alcohol rehab.

                 THE COURT:         All right. And what kind of drug did
           you have a problem with?

                 DEFENDANT SHARP:                Crack cocaine and cocaine,
           marijuana.

                                       .         .     .

                  THE COURT:          Are either of you currently under the
           influence of any drug, medication, or alcoholic beverage of any
           kind?

                  DEFENDANT SHARP:               No, ma’am.

                                       .         .     .

                  THE COURT:           Have each of you received a copy of


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           the written charges; that is, the indictment in this case?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .

                  THE COURT:          And have you gone over that
           indictment and fully discussed the case in general with your
           lawyer?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .

                  THE COURT:            Do you understand the charges that
           are pending against you?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .

                  THE COURT:           Are you fully satisfied with the
           counsel, representation, and advice given to you in your case by
           your lawyer?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .

                   THE COURT:          Now, I’ve been provided with a
           plea agreement and a factual resume for each of you. And I want
           you to look at that document, or those documents, and tell me on
           the record whether that is your plea agreement and factual
           resume and whether you signed those documents.

                  MR. JORDAN:           I’ll show it to you real quick.

                                        .         .     .


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                  DEFENDANT SHARP:               Yes, ma’am.

                  THE COURT:           All right. Did each of you have the
           opportunity to read and discuss the plea agreement with your
           attorney before you signed it?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                  THE COURT:          Are there any agreements that you
           have with the United States Government on your case that are
           not written down in the amended plea agreement?

                DEFENDANT SHARP:                 Yes, ma’am – well no,
           ma’am, really no. ma’am.

                                       .         .     .

                  THE COURT:           Do you understand the terms of your
           plea agreement?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                  THE COURT:           Has anyone made any other or
           different promises or assurances to you of any kind in an effort
           to induce you to plead guilty in your case?

                  DEFENDANT SHARP:               No, ma’am.

                                       .         .     .

                  THE COURT:             Do you understand that the terms of
           the plea agreement are merely recommendations to the Court
           and that I can reject those recommendations without permitting
           you to withdraw your plea of guilty and impose a sentence that


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           is more severe than you might anticipate?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .

                  THE COURT:            Has anyone attempted in any way to
           force you to plead guilty in this case?

                  DEFENDANT SHARP:                No, ma’am.

                                        .         .     .

                  THE COURT:           Are you pleading guilty of your own
           free will because you are guilty?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .

                   THE COURT:            Do you understand that . . . the
           offense to which you’re pleading guilty is a felony offense and
           that if your plea is accepted, you will be adjudged guilty of that
           offense and that such adjudication may deprive you of valuable
           civil rights such as the right to vote, the right to hold public
           office, the right to serve on a jury, the right to possess any kind
           of firearm, and also it could entail the loss of certain federal
           benefits? Do you understand those possible consequences of
           your guilty plea?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .

                  THE COURT:           Now, in each of your cases the
           maximum possible penalty the Court could impose is a
           minimum 10 years to a maximum life imprisonment, a fine not
           to exceed $4 million, a term of supervised release of five years


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           which would follow any term of imprisonment, and if you
           violated the conditions of supervised release you could be
           imprisoned for that entire term as well, and a mandatory special
           assessment of $100. Do you understand those possible
           consequences of your guilty plea?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                  THE COURT:           Under the Sentencing Reform Act
           of 1984, the United States Sentencing Commission has issued
           guidelines for judges to consider in determining the sentence in
           a criminal case. Have you and your attorney talked about how
           the sentencing guidelines might affect your sentence?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                   THE COURT:           Do you understand that the Court
           will not be able to determine the advisory guidelines sentencing
           range for your case until after a presentence report has been
           completed and you and the government have had the
           opportunity to challenge the reported facts and the application
           of the guidelines recommended by the probation office, and that
           the sentencing guideline range determined by the Court may be
           different from any estimate your attorney or anyone else might
           have given you?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                 THE COURT:          Do you also understand that after
           your guideline range has been determined, the guidelines
           themselves further provide for departures either upwards or
           downwards from that range in certain circumstances?


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                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                 THE COURT:         And do you understand that although
           the Court is required to consider the guidelines, they are
           advisory only and do not necessarily control the sentence
           imposed?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                  THE COURT:          Do you understand that in the
           federal system parole has been abolished and if you are
           sentenced to prison you will not be released on parole?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                   THE COURT:            Do you also understand that under
           some circumstances you or the government may have the right
           to appeal any sentence that I impose; however, each of your plea
           agreements contains a limited waiver of your right to appeal the
           sentence itself and in each of your cases you have retained the
           right to appeal the sentence only if punishment is imposed in
           excess of the statutory maximum, if punishment is imposed that
           constitutes an upward departure from the guideline range, or if
           you have a claim of ineffective assistance of counsel. Do you
           understand that you have waived your right to appeal in all but
           those three circumstances?

                  DEFENDANT SHARP:               Yes, ma’am.

                                       .         .     .

                  THE COURT:           Do you understand that you have a


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           right to plead not guilty to any offense charged against you and
           to persist in that plea and that you would then have the right to
           a trial by jury, that at that trial you would be presumed to be
           innocent and the government would have to prove your guilt
           beyond a reasonable doubt, and that you would have the right to
           the assistance of counsel for your defense, the right to see and
           hear all of the witnesses and have them cross-examined in your
           defense, the right on your own part to decline to testify unless
           you voluntarily elected to do so in your own defense, and the
           right to the issuance of subpoenas to compel the attendance of
           witnesses to testify in your defense?

                  DEFENDANT SHARP:                  Yes, ma’am.

                                          .         .     .

                  THE COURT:            And do you understand that if you
           went to trial and decided not to testify or to put on any evidence,
           those facts could not be used against you?

                  DEFENDANT SHARP:                  Yes, ma’am.

                                          .         .     .

                   THE COURT:              Do you further understand that by
           entering a plea of guilty, if that plea is accepted by the Court,
           there will be no trial and you will have waived or given up your
           right to a trial as well as those other rights associated with a trial
           that I’ve just described?

                  DEFENDANT SHARP:                  Yes, ma’am.

                                          .         .     .

                  THE COURT:           All right. Now, each of you are
           pleading guilty to a charge of violating Title 21, United States
           Code, Section 846. And in order to convict you of that offense,
           the United States would have to prove that two or more persons


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           came to a mutual understanding to conspire to distribute
           controlled substances and that you, knowing the purpose of that
           conspiracy, knowingly and willfully joined in that agreement.
           Do you understand what the government would have to prove in
           order to convict you?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .

                   THE COURT:          All right. Now, I asked each of you
           earlier if you had signed the factual resume and the plea
           agreement. You said you had, and I want to make sure that you
           understand that by signing the factual resume you have agreed
           that the government could prove the facts set forth in the offense
           conduct section of that document in order to support your guilty
           plea. Do you understand that and agree to that?

                  DEFENDANT SHARP:                Yes, ma’am.

                                        .         .     .


                   THE COURT:       All right. I have read those and now
           I will ask you how do you plead to the charge, guilty or not
           guilty?

                  DEFENDANT SHARP:                Guilty.

                                        .         .     .

                  THE COURT:           . . . It is the finding of the Court in
           the case of United States versus Kordell T. Sharp . . . that [the]
           defendant is fully competent and capable of entering an
           informed plea, that the defendant is aware of the nature of the
           charges and the consequences of the plea, and that the plea of
           guilty is a knowing and voluntary plea supported by an
           independent basis in fact containing each of the essential


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            elements of the offense. The plea is therefore accepted and [the]
            defendant is now adjudged guilty of that offense.

     (Id. at 2, 2-3, 3, 4, 5, 6, 6-7, 7, 7-8, 8, 8-9, 9, 10, 10-11, 11 & 11-12)

            5.      The Presentence Investigation Report was prepared by the

     Probation Office on February 15, 2007 and filed as a sealed document on

     March 19, 2007. (See Doc. 460) The defendant interposed the following

     objections to the Presentence Report:

                    1.     Defendant objects to paragraph 68 holding
                           Defendant accountable for one hundred seventy
                           point one (170.1) grams of crack cocaine (cocaine
                           base). Defendant submits that his involvement
                           was limited and involved less than one hundred
                           seventy point one (170.1) grams of crack cocaine.
                           This would reduce his base offense level below
                           thirty four (34).

                    2.     Defendant objects to the two (2) point
                           enhancement in paragraph 69 providing a two (2)
                           point enhancement for Defendant[’]s and/or any
                           conspirator[’]s possession of a weapon. By all
                           accounts, no witness attributed Kodell Sharp with
                           ever having possessed a weapon.

                    3.     Defendant objects to paragraph 80 assessing two
                           (2) criminal history points in that these events
                           occurred at the age of sixteen, involved
                           delinquent adjudications, and submits that it is not
                           sufficient conduct to warrant criminal history
                           points. Defendant’s criminal history category
                           should be that of one (1) instead of a criminal
                           history category of two (2).



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                              a.     In addition, the use of Defendant’s
                                     juvenile adjudication violates the Equal
                                     Protection, Due Process, and Double
                                     Jeopardy clauses of the U.S. Constitution.

       (Doc. 521, at 1) The Court stuck the defendant’s objections due to the failure

       of counsel to include the required certification. (See Doc. 522)

               6.     During the sentencing hearing on October 11, 2007,4 the

       following occurred:

                       THE COURT:          All right. Mr. Jordan, have you been
               over the presentence investigation report? Mr. Sharp, why don’t
               y’all step up to the desk?

                       MR. JORDAN:          Yes, Your Honor, and I’ve discussed
               it with Mr. Cherry and the probation officer and we’re going to
               withdraw our objection to the amount of the drugs. We’ve
               agreed that that’s basically what the evidence would show.

                      THE COURT:            You realize that I struck your
               objections shortly after they were filed.

                      MR. JORDAN:          I am aware of that, Your Honor, and
               I have communicated with the two parties Your Honor
               instructed me to, but I didn’t conclude that until probably this
               morning. But we’re withdrawing that, so we’re at the 34 level.

                      THE COURT:              You never did refile it, is what I’m
               saying.

                       MR. JORDAN:          No. Because I didn’t – I didn’t really
               get it resolved until this morning, so I haven’t refiled it . . . .


       4
               On October 2, 2007, the government filed notice of intent to call two witnesses at
the sentencing hearing. (Doc. 544)

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                  THE COURT:            Let me hear what the government’s
           position is on this.

                   MR. CHERRY:           Your Honor, if it please the Court,
           to avoid possible appellate issues, we are not objecting to his
           filing the objections today or arguing those objections. We have
           discussed some of those anyway and Mr. Jordan, through the
           negotiations, I think, will help us from having to put on a lot of
           testimony on some of these issues.

                  THE COURT:           And so what is the government’s
           position as to the amount of drugs involved?

                   MR. CHERRY:            Your Honor, if it please the Court,
           what probation has in there is 170.1 grams, and I think both
           parties agree that that is an accurate amount. Chris Ford, one of
           the witnesses we would proffer to the Court today, I have met
           with him and with the agent several times, and that is
           approximately the same amount he would testify to before the
           Court. It might be within 15 to 20 grams, but it doesn’t make
           any difference in the levels.

                  MR. JORDAN:          And we’re going to withdraw my
           technical objection – or not object to that amount as of today,
           after my discussions with Mr. Cherry. And I told him he did not
           need to call any witnesses on that issue.

                  THE COURT:            All right. So do you agree that the
           base offense level is 34?

                  MR. JORDAN:           Yes, ma’am.

                 THE COURT:             All right. What other objections do
           you have?

                  MR. JORDAN:         Judge, we object to the gun. I’ve
           talked to Mr. Cherry about that, and my understanding is that
           there are no witnesses that ever put any guns in my client’s


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           hand. It’s a big jump from being a crackhead and selling crack
           to support your habit versus actually handling a gun for any
           reason whatsoever. . . . I’ve never seen any testimony or
           witnessed any discussion that my client ever handled a gun. That
           was not within his character and that was outside the scope of
           his involvement. I understand the rules are foreseeability. . . . I
           just submit to Your Honor this young man has never handled a
           gun or been involved with a gun and was not involved with a
           gun. And the other people, admittedly, were involved with guns.
           But he wasn’t . . . .

                   THE COURT:          I didn’t understand it to be the
           position that he personally had a gun. I understood the
           enhancement to be based on the fact that he pled guilty to a
           conspiracy in which other coconspirators had firearms and that
           it was reasonably foreseeable. But what is your position on that,
           Mr. Cherry?

                   MR. CHERRY:          Your honor, I’d advised Mr. Jordan
           that I would stand moot on that point. I think the probation
           office has spoken to that as well as I could. About all I could tell
           the Court is that Mr. Jordan is not objecting to the fact there
           were guns found in the homes, back yards, that type of thing, of
           some of the codefendants. The testimony we would have
           proffered through Mr. Ford is that this defendant had been there
           for about six months or so, that he did not take part in any of the
           problems they had with rival drug dealers, or the gangs, and that
           he would say also he never saw this man with a gun. But as far
           as argument on what the probation officer has said, it states it as
           well as could be stated.

                  THE COURT:            Well, when you say you stand moot
           on that point, if he is challenging the gun enhancement, it is
           incumbent upon the government, if you don’t agree with the
           challenge, to put forth some evidence as to why – and I’ve heard
           the evidence in other codefendants in this case.

                  MR. CHERRY:            Yes, ma’am.


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                   THE COURT:          But that doesn’t apply to Mr. Sharp,
           as to why Mr. Sharp should have known that guns were likely
           to be involved in the conspiracy.

                  MR. CHERRY:          Yes, ma’am. And I’ll have to tell the
           Court at this point I would not be able to put on testimony that
           I’m aware of from Mr. Ford or any of the others that we’ve
           interviewed that he had seen the guns, would have known the
           guns were there.

                   THE COURT:         All right. Well, in that case, I find
           that the gun enhancement is not appropriate in this case, which
           means the adjusted offense level is 34. Were there other
           objections?

                  MR. JORDAN:          Judge, I would ask if you would also
           ask that the PSI could be deleted, if that could be deleted from
           the PSI. Because my understanding is it goes to the department
           of Bureau of Prisons, and that they will –

                  THE COURT:             Yeah, but my findings go as well.

                  MR. JORDAN:            All right.

                  THE COURT:             So they don’t need to delete it from
           the PSI.

                  MR. JORDAN:           Okay. Judge, the next issue I’d
           raised was the juvenile issue. But I’ve discussed that with Mr.
           Cherry, I’ve discussed that with the probation officer, and even
           though I don’t like it, I think I’m wrong in trying to get that
           criminal history lowered.

                   THE COURT:             Then it’s the finding of the Court the
           total offense level in this case is 31 with a criminal history level
           of II. Are there any further objections to those findings?

                  MR. JORDAN:            No.


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                  MR. CHERRY:           No, Your Honor.

                 THE COURT:            All right. I will hear from you, Mr.
           Jordan, as to what’s an appropriate sentence in this case.

                  MR. JORDAN:          Judge, this is a classic case of where
           I’ve got a client who is 20 today. He was abandoned by his
           mother and father at a young age and he was raised by his
           grandparents, who did an excellent job of raising him. They
           raised him in the church. When we came for the detention
           hearing, his pastor was here and I think that had a strong
           influence on Judge Milling as to releasing him pretrial, because
           of the pastor. The pastor submitted a letter to Your Honor.

                  THE COURT:            I saw that.

                  MR. JORDAN:            His employer submitted a letter to
           Your Honor. He went to Florida to live with his mom when he
           was about 15 or 16. His mom was involved in bad things, real
           bad things, and he got involved in real bad things. She wasn’t
           able to provide . . . . And so he’s got that juvenile history a lot
           from that. He came back to town and . . . he went to this area
           and he started using crack cocaine and he became a crack
           junkie. And then he began to sell crack to buy crack. Thank
           goodness it was only about six months that he was in this area
           and he was involved in this conspiracy. Thank goodness it was
           busted and he was caught in the dragnet. And they probably
           saved his life in a number of areas.

                  Since that time he has married his girlfriend and has two
           step-children. That’s the letters you have, were from his step-
           children, who he’s taken over a fatherly relationship, providing
           them the father that they don’t have. He’s got a really good job.
           He’s got really great grandparents.

                   So we would ask for a sentence that would perhaps take
           that into consideration . . . that he would be punished because he
           did sell crack cocaine, which is a horrible thing, and it wasn’t


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           just like he was hurting other people by selling crack cocaine.
           He was trying to destroy himself by using the crack cocaine
           himself. And he admitted to me early on, said: “Mr. Jordan, it
           basically took me over and it took over my life and if I hadn’t
           been caught when I was, I’d still be on crack cocaine, I’d still be
           out there in the gutters and out on the streets and I’d still be a
           junkie.”

                   And this brought it to his grandparents’ attention and . .
           . he has a chance to be a good citizen, because he was raised by
           good grandparents [who] taught him Christianity and raised him
           in the church. He does have a supportive girlfriend now [who]
           is helping him to do the right things by her and her children. He
           does have a supportive employer . . . so that’s where we are.

                   I do have his grandfather here, Your Honor, [who] would
           like to be heard briefly.

                  THE COURT:          Well, let me ask you this, Mr.
           Jordan: Given the amount of crack cocaine that was involved, is
           not the 10-year minimum mandatory applicable in this case?

                  MR. JORDAN:           I’m sure it is, Judge.

                 THE COURT:           And the guideline range is one
           month more than that, up to 151 months, is it not?

                  MR. JORDAN:           Yes, Your Honor.

                  THE COURT:         All right. So . . . given the minimum
           mandatory and the closeness of the guideline range to the
           minimum mandatory, I’m just saying that there’s no way the
           Court can go much below the guideline range in this case. You
           understand that?

                  MR. JORDAN:         Judge, . . . I thought they determined
           the guidelines to become more advisory, where Your Honor did
           have some discretion.


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                   THE COURT:             The guidelines are more advisory,
           but the statute itself means a minimum 10-year sentence. And so
           I understand your position that perhaps a lesser sentence is
           required in this case, but I can’t go below the 10-year minimum
           mandatory. Do you understand that?

                  MR. JORDAN:             Yes, Your Honor.

                  THE COURT:              Well, I’ll hear from whoever you
           want to present to me.

                    MR. JORDAN:           Well, if that’s the case, Your Honor,
           it’s fairly irrelevant then.

                  THE COURT:           Mr. Sharp, do you have anything
           that you would like to say?

                    THE DEFENDANT:               Yes, ma’am. . . . First of all
           . . . I’d like to say I’m sorry for the things I was doing. I was
           raised by good grandparents [who] taught me well. And I fell
           into the wrong field and things was happening, and I was a
           junkie. And I’m proud to say that I’m glad that the judge before
           you let we went to a rehab program to rehabilitate myself. And
           I have a good job right now. I appreciate the time I’ve been out
           and [I’m] trying to step forward as a man and help my wife with
           her children and everything.

                  THE COURT:              All right. Does the government have
           a position?

                   MR. CHERRY:           Your Honor, we are recommending
           to the Court the low end of the guidelines. But as you said, that’s
           just a one-month difference.

                  THE COURT:              All right. Anything else, Mr. Jordan?

                  MR. JORDAN:         No, Judge. If you would order him
           to be allowed to take a drug program in prison, if that would


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           help reduce his time, that would be appreciated.

                 THE COURT:            All right. I’m now going to state the
           sentence I intend to impose and after I’ve stated it I will allow
           counsel to make legal objections before actual imposition of the
           sentence.

                   I have considered the sentencing guidelines, I’ve
           considered the statutory purposes of sentencing, and I frankly
           think the minimum mandatory sentence is what is an appropriate
           sentence in this case. Basically whether you call it a departure
           or a non[-]guidelines sentence –I suppose it’s a non[-]guidelines
           sentence–but they are so close that it hardly makes any
           difference. But I do find that your relative youth, the short
           amount of time that you were in this conspiracy, and your
           rehabilitation from using the drugs merits this minimum
           mandatory sentence, and that’s what I intend to impose.

                  Pursuant to the Sentencing Reform Act of 1984, it is the
           judgment of the Court that the defendant Kordell T. Sharp is
           hereby committed to the custody of the United States Bureau of
           Prisons to be imprisoned for a term of 120 months as to count
           one. The Court recommends that the defendant be imprisoned at
           an institution where a residential comprehensive substance-
           abuse treatment program is available.

                  Upon release from imprisonment the defendant shall be
           placed on supervised release for a term of five years on count
           one.

                   Within 72 hours of release from custody of the Bureau of
           Prisons, the defendant shall report in person to the probation
           office in the district to which he is released.

                  While on supervised release the defendant shall not
           commit any federal, state, or local crimes, the defendant shall be
           prohibited from possessing a firearm or other dangerous device,
           and shall not possess a controlled substance.


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                  In addition, the defendant shall comply with the standard
           conditions of supervised release as recommended by the United
           States Sentencing Commission and on record with this Court.

                  The Court orders that the defendant also comply with the
           following special conditions of supervised release: He shall
           participate in a program of testing and treatment for drug and/or
           alcohol abuse as directed by the probation office.

                   The Court finds that the defendant does not have the
           ability to pay a fine and therefore a fine is not imposed.

                  As I indicated, I find the guideline range is not
           appropriate to the facts and circumstances of this case and
           sentence at the statutory minimum, which provides for a
           reasonable sentence and note that it’s only a one-month
           difference between the minimum guidelines and the statutory
           minimum.

                  I sentence at this range based upon the defendant’s
           cooperation, his rehabilitation from drug use, his youth, and the
           position that he had in this conspiracy.

                   In addition, the sentence imposed addresses the
           seriousness of the offense and the sentencing objectives of
           punishment, deterrence, and incapacitation. It is ordered that the
           defendant pay a special assessment in the amount of $100 on
           count one, which shall be due immediately.

                  Now, having stated the sentence I intend to impose, are
           there any legal objections to it?

                  MR. JORDAN:           No, Your Honor.

                  MR. CHERRY:           No, ma’am.

                 THE COURT:             . . . I hereby impose the sentence as
           previously stated.


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                   Now, Mr. Sharp, you can appeal your conviction if you
            believe that your guilty plea was somehow unlawful or
            involuntary or if there’s some other fundamental defect in the
            proceeding that was not waived by your guilty plea. You also
            have a statutory right to appeal the sentence itself in certain
            circumstances, although you entered into a plea agreement
            which waives certain of your rights to appeal the sentence itself.
            Such waivers are generally enforceable, but if you believe the
            waiver to be unenforceable, you can test that theory in the
            appellate Court. If you decide to appeal, you must do so within
            10 days of entry of judgment in this case and Mr. Jordan can file
            that notice for you.

     (Doc. 562, at 2-13; see also Doc. 553 (judgment in a criminal case))

            7.     On October 26, 2007, Sharp filed written notice of appeal. (Doc.

     548 (“I don’t feel I was represented properly towards my sentencing and that

     I wasn’t in the right state of mind from just lo[]sing a baby. Another thing is

     that in this conspiracy on my drug quantity was a lie from their witness but I

     could do nothing about it!”)) The United States moved to dismiss Sharp’s

     appeal “due to a valid appeal waiver” contained in the plea agreement. (Doc.

     611) The government’s motion was granted on April 2, 2008. (Id.)

            8.     Sharp filed a motion for reduction of sentence on March 17,

     2008. (Doc. 604) The Court denied the motion for reduction on May 7, 2008.

     (Doc. 628) “The defendant was sentenced to the statutory mandatory

     minimum, and the court cannot reduce his sentence below the mandatory

     minimum.” (Id.)


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               9.      On August 22, 2008, Sharp filed a motion to reinstate his appeal.

       (Doc. 651) That motion was denied by order dated August 27, 2008. (Doc. 652

       (“This court has no authority to reinstate defendant’s direct appeal. Any such

       relief must come from the Court of Appeals.”))

               10.     On March 31, 2009, Sharp filed the present collateral attack on

       his conviction and sentence pursuant to 28 U.S.C. § 2255. (See Doc. 672, at 23

       (date petitioner signed the petition)) Therein, petitioner contends that he was

       denied the effective assistance of counsel. (See id.) According to what the

       undersigned can discern from the petition, Sharp alleges the following

       instances of ineffective assistance of trial counsel: (1) his plea of guilty was

       not knowingly and voluntarily entered due to counsel’s failure to familiarize

       himself with the facts and law of the case and realize that the government

       would not be able to meet its burden of proving beyond a reasonable doubt that

       he and his co-defendants conspired to possess with intent to distribute more

       than 50 grams of the crack form of cocaine base5; (2) his attorney failed to

       investigate his case and discover the vital Fourth Amendment issue arising

       from the fact that law enforcement officers did not have a confidential



       5
               In this regard, petitioner argues that his trial attorney completely failed to
“properly note, object, or appeal the vital issue of distinguishing the crack form of cocaine base
from the hydrochloride form of the same substance.” (Doc. 672, at 9)

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       informant supplying information about him and his co-defendants and,

       therefore, the conduct of law enforcement in “stopping” individuals leaving the

       home(s) of his co-defendants was illegal (Doc. 672, at 11) as was “the ensuing

       application and affidavit for the search warrant, that enabled law enforcement

       to discover and seize the firearms and drugs (as well as any other tangible and

       testimonial evidence)” (id. at 12)6; (3) his attorney did not inform him that he

       could file a pre-trial motion to challenge the multiplicity of the superseding

       indictment and seek dismissal of same (Doc. 672, at 14 & 16); (4) his attorney

       did not inform him that the United States could not live up to its promise to file

       a § 5K1.1motion for reduction of sentence on account of his vital cooperation

       with law enforcement officials (Doc. 672, at 14); (5) his attorney “failed to

       timely discover, note, object, and bring to the attention of the sentencing court,

       that the Pre-Sentence Investigation Report [] had improperly and

       unconstitutionally made reference to his prior juvenile convictions as being the

       result of (I) his being formerly represented by counsel, and (ii) as being a

       qualifying prior offense for the purposes of U.S.S.G. §§ 4A1.1(c) and

       4A1.2([d])(1), in order that he may be attributed at least two (2) criminal



       6
                In this regard, Sharp contends that he was “unaware that he could have filed a
timely pre-trial motion to suppress, and thereby prove that he had standing to challenge the
validity of the search warrant and resulting seizure in the case at hand.” (Doc. 672, at 14)

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       history points;” (Doc. 672, at 17)7 and (6) his first appeal was reduced to a

       “mere sham and empty promise” due to his attorney’s failure to preserve the

       foregoing issues for appellate review (Doc. 672, at 20).8

               11.     The United States filed its response and motion to dismiss on

       June 8, 2009. (Doc. 695) Sharp did not file a reply to the government’s

       response, though his time for doing so was extended to July 13, 2009 (Doc.

       697; compare id. with Doc. 673 (initially ordering petitioner to file his reply

       by June 22, 2009)).




       7
               In this regard, petitioner also contends that “counsel’s objections [did] not even
mention [his] entitlement to the application of the Safety Valve’s protections to his case in
accordance with § 5C1.2 and § 3553(f).” (Doc. 672, at 18)
       8
               Joe Carl Jordan, Esquire, represented Sharp both at trial and on appeal. (Doc. 672,
at 22-23)

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                                 CONCLUSIONS OF LAW

               1.     28 U.S.C. § 2255 reads, in relevant part, as follows: “A prisoner

       in custody under sentence of a court established by Act of Congress claiming

       the right to be released upon the ground that the sentence was imposed in

       violation of the Constitution or laws of the United States, or that the court was

       without jurisdiction to impose such sentence, or that the sentence was in excess

       of the maximum authorized by law, or is otherwise subject to collateral attack,

       may move the court which imposed the sentence to vacate, set aside or correct

       the sentence.”

               2.     In this instance, Sharp contends that constitutionally ineffective

       assistance of counsel entitles him to the relief afforded by 28 U.S.C. § 2255.9

       In order to establish a claim of ineffective assistance of counsel, a petitioner

       is required to show (1) that his attorney’s representation fell below “an

       objective standard of reasonableness” and (2) that a reasonable probability

       9
                Once a criminal defendant enters a guilty plea, he waives all non-jurisdictional
challenges to the conviction’s constitutionality and only an attack on the voluntary and knowing
nature of the plea can be raised. See McMann v. Richardson, 397 U.S. 759, 772, 90 S.Ct. 1441,
1449, 25 L.Ed.2d 763 (1970). Stated differently, “a voluntary and intelligent plea made by an
accused person, who has been advised by competent counsel, may not be collaterally attacked.”
Mabry v. Johnson, 467 U.S. 504, 508, 104 S.Ct. 2543, 2546-2547, 81 L.Ed.2d 437 (1984)
(emphasis supplied). Therefore, when a § 2255 motion is filed collaterally challenging
convictions obtained pursuant to guilty pleas, “the inquiry is ordinarily confined to whether the
underlying plea was both counseled and voluntary.” United States v. Broce, 488 U.S. 563, 569,
109 S.Ct. 757, 762, 102 L.Ed.2d 927 (1989).


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       exists that but for counsel’s unprofessional conduct, the result of the

       proceeding would have been different. Strickland v. Washington, 466 U.S.

       668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). The Strickland v. Washington

       standard for evaluating claims of ineffective assistance of counsel was held

       applicable to guilty pleas in Hill v. Lockhart, 474 U.S. 52, 58, 106 S.Ct. 366,

       370, 88 L.Ed.2d 203 (1985).

               To succeed on such a claim, “the defendant must show that
               counsel’s performance was deficient. This requires showing
               that counsel made errors so serious that counsel was not
               functioning as the ‘counsel’ guaranteed the defendant by the
               Sixth Amendment.” Strickland v. Washington, 466 U.S. 668,
               687, 104 S.Ct. 2052, 2064, 80 L.Ed.2d 674 (1984).10 In
               addition, the defendant must establish that “counsel’s
               constitutionally ineffective performance affected the outcome of
               the plea process.” Hill, 474 U.S. at 59, 106 S.Ct. at 370. In
               other words, . . . [a petitioner] “must show that there is a
               reasonable probability that, but for counsel’s errors, he would .
               . . have pleaded [not] guilty and would . . . have insisted on
               going to trial.” Hill, 474 U.S. at 59, 106 S.Ct. at 370.

       Coulter v. Herring, 60 F.3d 1499, 1504 (11th Cir. 1995) (footnote, brackets

       and ellipses added), cert. denied sub nom. Coulter v. Jones, 516 U.S. 1122,

       116 S.Ct. 934, 133 L.Ed.2d 860 (1996).11


       10
              “When analyzing ineffective-assistance claims, reviewing courts must indulge a
strong presumption that counsel’s conduct fell within the wide range of reasonably professional
assistance.” Smith v. Singletary, 170 F.3d 1051, 1053 (11th Cir. 1999) (citations omitted).
       11
               It is proper in considering claims made by a federal prisoner under § 2255 to look
for guidance from cases discussing claims raised by state prisoners under 28 U.S.C. § 2254. See

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              3.      When applying the Strickland standard, it is clear that courts “are

       free to dispose of ineffectiveness claims on either of its two grounds.” Oats

       v. Singletary, 141 F.3d 1018, 1023 (11th Cir. 1998) (citation omitted), cert.

       denied sub nom. Oates v. Moore, 527 U.S. 1008, 119 S.Ct. 2347, 144 L.Ed.2d

       243 (1999); see also Butcher v. United States, 368 F.3d 1290, 1293 (11th Cir.

       2004) (“[O]nce a court decides that one of the requisite showings has not been

       made it need not decide whether the other one has been.”).

              4.      Petitioner’s first claim of ineffective assistance of counsel is that

       his plea of guilty was not knowingly and voluntarily entered due to counsel’s

       failure to familiarize himself with the facts and law of the case and realize that

       the government would not be able to sustain its burden of proving beyond a

       reasonable doubt that he and his co-defendants conspired to possess with intent

       to distribute more than 50 grams of the crack form of cocaine base. In other

       words, it appears to be Sharp’s position that his trial attorney provided

       ineffective assistance because he failed to appreciate that the government

       could not prove beyond a reasonable doubt that the substance he and his co-

       defendants possessed with intent to distribute was crack cocaine, as opposed



Hagins v. United States, 267 F.3d 1202, 1205 (11th Cir. 2001) (citing Holladay v. Haley, 209
F.3d 1243 (11th Cir. 2000)), cert. denied, 537 U.S. 1022, 123 S.Ct. 545, 154 L.Ed.2d 432
(2002).

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       to powder cocaine or some other form of cocaine.

              5.      It is clear that under 21 U.S.C. § 841(b)(1)(A)(iii), an individual

       who distributes 50 grams or more of a substance containing “cocaine base”

       shall be sentenced to a mandatory minimum 10-year term of imprisonment.

       “The Sentencing Guidelines state ‘”[c]ocaine base,” for the purposes of this

       guideline, means “crack.” “Crack” is the street name for a form of cocaine

       base, usually prepared by processing cocaine hydrochloride and sodium

       bicarbonate, and usually appearing in a lumpy, rocklike form.’” Berry v.

       United States, 281 Fed.Appx. 967, 968 (11th Cir.) (unpublished decision),12

       quoting U.S.S.G. § 2D1.1(c) note D, cert. denied,        U.S.     , 129 S.Ct. 476,

       172 L.Ed.2d 341 (2008); see also id. (“We have held the term ‘cocaine base’

       in 21 U.S.C. § 960(b) should only include crack cocaine because Congress did

       not explicitly define the term in the statute and allowed that definition of

       ‘cocaine base’ to be promulgated in the Guidelines.”).13 Defining cocaine base

       as crack is important because after the guidelines were amended in 1993 the

       Eleventh Circuit “held that for sentences imposed on and after November 1,


       12
               “Unpublished opinions are not considered binding precedent, but they may be
cited as persuasive authority.” 11th Cir. R. 36-2.
       13
                “This [] definition of ‘cocaine base’ also applies to the mandatory minimum, drug
penalty statutes.” United States v. Sloan, 97 F.3d 1378, 1381 n.4 (11th Cir. 1996) (citation
omitted), cert. denied, 520 U.S. 1277, 117 S.Ct. 2459, 138 L.Ed.2d 216 (1997).

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       1993, ‘cocaine base’ included only crack cocaine, and any other form of

       cocaine base must be treated as cocaine hydrochloride for sentencing

       purposes.” Reed v. United States, 2008 WL 2385249, *6 (M.D. Fla. 2008)

       (citations omitted); see also id. (“There is a legal distinction between crack

       cocaine and the other forms of cocaine base.”).

              6.      Petitioner’s wholly conclusory argument in this regard14 is

       undermined by the following: (1) the superseding indictment charged him with

       conspiracy to possess with intent to distribute more than 50 grams of a mixture

       and substance containing a detectable amount of cocaine base, commonly

       known as crack cocaine (Doc. 199); (2) his understanding that crack cocaine

       is a different drug than cocaine (see Doc. 561, at 4 (“And what kind of drug

       did you have a problem with? DEFENDANT SHARP: Crack cocaine and

       cocaine, marijuana.”)); (3) his acknowledgment during his guilty plea

       proceeding that he understood the charges against him and also understood that

       the United States would have the burden of proving at trial the legal elements

       of the criminal charges beyond a reasonable doubt (id. at 7 & 11); (4) his



       14
               Sharp has failed to direct this Court to any credible laboratory or other evidence
which establishes that one of the controlled substances he and his co-defendants were selling and
conspired to distribute was not cocaine base, that is, crack cocaine, and that the government
could not prove that 50 or more grams of crack cocaine was distributed by petitioner and his co-
defendants during the time he participated in the conspiracy.

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       specific acknowledgment during his guilty plea that by signing the factual

       resume he was agreeing that the government could prove the facts set forth in

       the offense conduct section (id. at 11);15 (5) his failure to object to the

       Presentence Investigation Report’s factual statement that he sold crack during

       the period of January, 2006 until his arrest on August 2, 2006; and (6) his

       withdrawal, during sentencing, of any objection to the PSI’s finding that he

       was accountable for 170.1 grams of cocaine base when faced with the

       government’s proffer that it was prepared to produce Chris Ford, one of

       Sharp’s co-defendants, to testify regarding the amount of cocaine base

       attributable to Sharp and that his testimony would place the amount within 15

       to 20 grams of the 170.1 estimated in the PSI (see Doc. 562, at 2-3). In light

       of the foregoing, the undersigned cannot find Sharp’s trial attorney deficient

       in failing to recommend that petitioner proceed to trial in order to contest the

       15
                 This section of the factual resume to which petitioner agreed specifically states
that during the dates charged in the superseding indictment Sharp conspired with others named
therein to distribute and possess with intent to distribute crack cocaine on Saint Phillips Street in
Selma, Alabama; that by use of pole cameras located at the end of each block, informants,
undercover purchases, and “pick-offs” of drug purchasers, agents with the Bureau of Alcohol,
Tobacco, Firearms and Explosives, determined that Sharp and others named in the indictment
worked together to sell various amounts of crack cocaine, cocaine and marijuana to individuals
who drove or walked by; the group purchased their drugs from outside sources; and Sharp
agreed with co-defendant Ford and others named in the indictment to distribute and possess with
intent to distribute in excess of 50 grams of cocaine base, that is crack cocaine, in the Selma
area. (Doc. 369, FACTUAL RESUME, at 1-2) The only matter the defendant and government
did not agree upon was the exact amount of crack cocaine for which the defendant should be
held accountable. (See id. at 2)

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       type of drug involved in this case. In other words, the evidence before this

       Court establishes that the United States could prove that Sharp and his co-

       defendants conspired to possess with intent to distribute more than 50 grams

       of crack cocaine, thereby bringing into play the statutory minimum mandatory

       10-year sentence petitioner received. Counsel did not provide ineffective

       assistance in this regard.16 Mack v. United States, 2008 WL 5427804, *6 (M.D.

       Fla. 2008) (“[T]here was ample evidence that the substance involved in this

       case was crack cocaine, and an attorney is not ineffective in failing to make a

       meritless objection.”); see Berry, supra, at *2 (“Berry cannot show he was

       prejudiced by his trial counsel’s failure to challenge whether the substance he

       distributed was crack cocaine, because the evidence demonstrated the

       substance was crack cocaine.”); cf. United States v. Johnson, 201 Fed.Appx.

       734, 736 (11th Cir. 2006) (unpublished decision) (“The district court correctly

       calculated Johnson’s offense level based on his possession and distribution of

       cocaine base, which is defined as crack, because (1) Johnson admitted at his

       plea hearing that he sold crack; (2) he failed to object to the PSI’s factual

       statement that he distributed cocaine base; (3) he indicated that he agreed with


       16
                In fact, by pleading guilty to the conspiracy charge, petitioner saved himself from
the possibility of two additional convictions (and sentences), one for possession with intent to
distribute crack cocaine and marijuana and a second for possession with intent to distribute
cocaine.

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     the factual basis for the plea, which stated that he sold crack cocaine to a

     confidential source; and (4) the indictment charged him with distributing

     ‘cocaine base, crack cocaine,’ as opposed to some other form of cocaine.”),

     cert. denied, 549 U.S. 1297, 127 S.Ct. 1857, 167 L.Ed.2d 349 (2007).

            7.     Sharp next contends that his attorney failed to investigate his

     case and discover the vital Fourth Amendment issue arising from the fact that

     law enforcement officers did not have a confidential informant supplying

     information about him and his co-defendants and, therefore, the conduct of law

     enforcement in “stopping” individuals leaving the homes of his co-defendants

     was illegal (Doc. 672, at 11) as was “the ensuing application and affidavit for

     the search warrant, that enabled law enforcement to discover and seize the

     firearms and drugs (as well as any other tangible and testimonial evidence)”

     (id. at 12). Again, Sharp’s allegations are wholly conclusory and devoid of any

     reliable evidence that he possessed a viable Fourth Amendment claim which

     he had standing to raise. See United States v. Padilla, 508 U.S. 77, 81 & 81-82,

     113 S.Ct. 1936, 1939, 123 L.Ed.2d 635 (1993) (“It has long been the rule that

     a defendant can urge the suppression of evidence obtained in violation of the

     Fourth Amendment only if that defendant demonstrates that his Fourth

     Amendment rights were violated by the challenged search or seizure. . . . We



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     applied this principle to the case of coconspirators in Alderman, in which we

     said: ‘The established principle is that suppression of the product of a Fourth

     Amendment violation can be successfully urged only by those whose rights

     were violated by the search itself, not by those who are aggrieved solely by the

     introduction of damaging evidence. Co-conspirators and codefendants have

     been accorded no special standing.’”); United States v. Griffin, 287 Fed.Appx.

     845, 848 (11th Cir. 2008) (unpublished opinion) (“Griffin fails completely to

     address the district court’s conclusion that he lacked standing to complain of

     Harrison’s search, but, as the district court correctly recognized, he lacks

     standing to challenge the seizure of the gun from her pants because the search

     did not implicate Griffin’s Fourth Amendment rights.”), cert. granted and

     judgment vacated on other grounds,         U.S.   , 129 S.Ct. 2432,    L.Ed.2d

         (2009). Because there is no information contained within this claim of

     ineffective assistance of counsel which implicates Sharp’s Fourth Amendment

     rights, petitioner has established neither the cause or prejudice prong of the

     Strickland standard. See United States v. Scott, 2009 WL 1405855, *6 (N.D.

     Fla. 2009) (“Defendant’s vague claim of unreliable informants and false

     information is insufficient to establish any basis for a motion to suppress, and

     certainly does not establish ineffective assistance of counsel.”).



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            8.      Sharp contends that his attorney was deficient for failing to

     inform him that he could file a pre-trial motion challenging the superceding

     indictment as multiplicitous and thereby seek dismissal of same. Sharp was

     charged by superseding indictment, as aforesaid, with three separate offenses;

     he was charged in Count One with conspiracy to possess with intent to

     distribute marijuana, cocaine and more than 50 grams of cocaine base, i.e.,

     crack cocaine, in Count Thirteen he was charged with possession with intent

     to distribute crack cocaine and marijuana, and in Count Fourteen he was

     charged with possession with intent to distribute cocaine. “An indictment is

     multiplicitous if it charges a single offense in more than one count.” United

     States v. Williams, 527 F.3d 1235, 1241 (11th Cir. 2008) (citations omitted);

     see also Black’s Law Dictionary, at 1112 (9th ed. 2009) (noting that an

     indictment is multiplicitous if it charges “the same offense in more than on

     count of a single indictment[.]”). While each count of the indictment charging

     Sharp involved controlled substances, each count required different evidence

     to prove petitioner’s guilt. Count one charged conspiracy to distribute crack

     cocaine while Counts Thirteen and Fourteen charged distribution of crack

     cocaine and marijuana (thirteen) and cocaine (fourteen). Accordingly, Sharp’s

     trial attorney did not err in failing to inform petitioner that he could file a pre-



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       trial motion challenging the superceding indictment as multiplicitous since the

       charges were not multiplicitous. United States v. Bastidas, 28 F.Supp.2d 1346,

       1350 (M.D.Fla. 1998) (“Defendant’s trial counsel did not err in not objecting

       to the multiplicity of the Indictment because the charges were not

       multiplicitous.”) .

              9.     Sharp also contends that his attorney failed to inform him that

       the United States could not live up to its promise to file a § 5K1.1 motion for

       reduction of sentence based upon his vital cooperation with law enforcement

       officials. There can be no doubt that the posture of this case was such that

       application of U.S.S.G. § 5K1.1 was rendered moot inasmuch as the

       mandatory minimum was ten (10) years17 and the Court was required to

       sentence petitioner to the mandatory minimum. Nonetheless, the undersigned

       cannot find counsel deficient for not informing Sharp that the government

       could not file a § 5K1.1 motion for reduction of sentence particularly since the

       government certainly could have filed (and perhaps can still file) a Rule 35(b)

       motion for reduction of sentence, Fed.R.Crim.P. 35(b)(1)-(2); see

       Fed.R.Crim.P. 35(b)(4) (“When acting under Rule 35(b), the court may reduce

       the sentence to a level below the minimum sentence established by statute.”),


       17
              The range of punishment under the guidelines was 121 months to 151 months.
(Doc. 562, Sentencing Transcript, at 9)

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       provided it was determined by the government that petitioner had supplied

       substantial assistance in investigating or prosecuting another person, compare

       Fed.R.Crim.P. 35(b)(1) (“Upon the government’s motion made within one

       year of sentencing, the court may reduce a sentence if the defendant, after

       sentencing, provided substantial assistance in investigating or prosecuting

       another person.”) with Doc. 369, Plea Agreement, at 7 (“If the defendant

       provides full, complete, truthful and substantial cooperation to the United

       States, which results in substantial assistance to the United States in the

       investigation or prosecution of another criminal offense, a decision specifically

       reserved by the United States in the exercise of its sole discretion, then the

       United States agrees to move for a downward departure in accordance with

       Section 5K1.1 of the United States Sentencing Guidelines or Rule 35 of the

       Federal Rules of Criminal Procedure, whichever the United States deems

       applicable.”).18

               10.     Petitioner’s next claims that his trial attorney “failed to timely

       discover, note, object, and bring to the attention of the sentencing court, that

       the Pre-Sentence Investigation Report [] had improperly and unconstitutionally


       18
               Petitioner alleges in a conclusory manner that his cooperation with law
enforcement officials was “vital;” however, nothing contained within Sharp’s allegations gives
rise to any suggestion that he has provided substantial assistance with respect to the investigation
or prosecution of another person.

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       made reference to his prior juvenile convictions as being the result of (I) his

       being formerly represented by counsel, and (ii) as being a qualifying prior

       offense for the purposes of U.S.S.G. §§ 4A1.1(c) and 4A1.2([d])(1), in order

       that he may be attributed at least two (2) criminal history points.” (Doc. 672,

       at 17)19 A review of the sentencing hearing transcript reveals that Sharp’s trial

       attorney had every intention of objecting to the use of two prior juvenile

       convictions for the purpose of calculating his criminal history score but

       withdrew that objection after speaking with the probation officer and assistant

       United States attorney and learning that such objection would be futile. (See

       Doc. 562, at 6)


       19
                 Petitioner argues parenthetically that counsel was ineffective for not mentioning
his entitlement to application of the safety valve provision in accordance with U.S.S.G. § 5C1.2
and 18 U.S.C. § 3553(f). Sharp’s trial attorney was not deficient in failing to mention the safety
valve issue both because it is not at all clear that this provision would have been applicable to
Sharp since he received the statutory mandatory minimum sentence of 10 years, see Untied
States v. Lett, 483 F.3d 782, 788-789 (11th Cir. 2007) (“It is not obvious that the Booker decision
eviscerated mandatory minimum sentences in every case where the defendant meets the five
criteria for safety valve treatment, including those in which the advisory guideline range is above
the mandatory minimum.”), cert. denied,          U.S. , 129 S.Ct. 31, 172 L.Ed.2d 18 (2008), but,
as well, because this safety valve would decidedly not be applicable to his case since his criminal
history was properly calculated as rendering two points, see 18 U.S.C. § 3553(f)(1)
(“Notwithstanding any other provision of law, in the case of an offense under section 401, 404,
or 406 of the Controlled Substances Act (21 U.S.C. 841, 844, 846) . . . the court shall impose a
sentence pursuant to guidelines promulgated by the United States Sentencing Commission under
section 994 of title 28 without regard to any statutory minimum sentence, if the court finds at
sentencing, after the Government has been afforded the opportunity to make a recommendation,
that– (1) the defendant does not have more than 1 criminal history point, as determined under the
sentencing guidelines[.]”).


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            11.    Section 4A1.2(d) of the United States Sentencing Guidelines

     provides:

                   Offenses Committed Prior to Age Eighteen

                   (1)    If the defendant was convicted as an adult and
                          received a sentence of imprisonment exceeding
                          one year and one month, add 3 points under
                          §4A1.1(a) for each such sentence.

                   (2)    In any other case,

                          (A)     add 2 points under §4A1.1(b) for
                                  each adult or juvenile sentence to
                                  confinement of at least sixty days if
                                  the defendant was released from
                                  such confinement within five years
                                  of his commencement of the instant
                                  offense;

                          (B)     add 1 point under §4A1.1(c) for
                                  each adult or juvenile sentence
                                  imposed within five years of the
                                  defendant’s commencement of the
                                  instant offense not covered in (A).

     Id. (emphasis in original). “Every other court to consider the applicability of

     § 4A1.2(d) has indicated that it should not be read to exclude juvenile

     adjudications of guilt.” United States v. Chanel, 3 F.3d 372, 373 (11th Cir.

     1993) (citations omitted), cert. denied, 510 U.S. 1133, 114 S.Ct. 1107, 127

     L.Ed.2d 418 (1994). In this case, Sharp was 19 years of age when he was

     arrested and 20 years of age when he entered his guilty plea and was


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     sentenced. (See Doc. 561, at 3) As reflected in the PSI, Sharp was born on

     December 1, 1986, and, therefore, was 19 years of age at the time of the

     commencement of the offense for which he pled guilty. That report also

     reflects that on two occasions within five years of the defendant’s

     commencement of the instant offense, he received two juvenile sentences,

     while counseled, see United States v. Kennedy, 557 F.Supp.2d 1311, 1320

     (N.D. Fla. 2008) (“Defendant has supplied no evidence that the convictions

     were uncounselled, a burden which he, not the Government, bears.”), for

     offenses committed at the age of 16. Therefore, Sharp was properly attributed

     2 criminal history points and counsel was not deficient for failing to make a

     frivolous argument contending that no criminal history points should be

     attributed to his client.

            12.     Sharp’s final contention is that his first appeal was reduced to a

     “mere sham and empty promise” due to his attorney’s failure to preserve the

     aforementioned claims of ineffective assistance of counsel for appellate

     review. While it would not be unusual for an attorney who has represented a

     defendant both at “trial” and on appeal to not raise claims of his own

     ineffectiveness before the trial court, the failure to preserve such claims in the

     instant case was not deficient given that they are all meritless. Thus, there was



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     no ineffective assistance of counsel in this regard.

            13.    In consideration of the foregoing, the Magistrate Judge

     recommends that the Court deny Sharp’s motion to vacate, set aside or

     correct his sentence under 28 U.S.C. § 2255.

                                   CONCLUSION

            The Magistrate Judge is of the opinion that petitioner’s rights were not

     violated in this cause and that his request to vacate, set aside or correct his

     sentence should be DENIED.

            The instructions which follow the undersigned’s signature contain

     important information regarding objections to the report and recommendation




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     of the Magistrate Judge.

           DONE this the 7th day of August, 2009.

                                   s/WILLIAM E. CASSADY
                                  UNITED STATES MAGISTRATE JUDGE




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       MAGISTRATE JUDGE'S EXPLANATION OF PROCEDURAL RIGHTS AND
           RESPONSIBILITIES FOLLOWING RECOMMENDATION, AND
               FINDINGS CONCERNING NEED FOR TRANSCRIPT

     l.      Objection. Any party who objects to this recommendation or anything in it must,
     within ten days of the date of service of this document, file specific written objections with
     the Clerk of this court. Failure to do so will bar a de novo determination by the district
     judge of anything in the recommendation and will bar an attack, on appeal, of the factual
     findings of the Magistrate Judge. See 28 U.S.C. § 636(b)(1)(C); Lewis v. Smith, 855 F.2d
     736, 738 (11th Cir. 1988); Nettles v. Wainwright, 677 F.2d 404 (5th Cir. Unit B, 1982)(en
     banc). The procedure for challenging the findings and recommendations of the Magistrate
     Judge is set out in more detail in SD ALA LR 72.4 (June 1, 1997), which provides that:

             A party may object to a recommendation entered by a magistrate judge in
             a dispositive matter, that is, a matter excepted by 28 U.S.C. § 636(b)(1)(A),
             by filing a ‘Statement of Objection to Magistrate Judge’s Recommendation’
             within ten days after being served with a copy of the recommendation,
             unless a different time is established by order. The statement of objection
             shall specify those portions of the recommendation to which objection is
             made and the basis for the objection. The objecting party shall submit to
             the district judge, at the time of filing the objection, a brief setting forth the
             party’s arguments that the magistrate judge’s recommendation should be
             reviewed de novo and a different disposition made. It is insufficient to
             submit only a copy of the original brief submitted to the magistrate judge,
             although a copy of the original brief may be submitted or referred to and
             incorporated into the brief in support of the objection. Failure to submit a
             brief in support of the objection may be deemed an abandonment of the
             objection.

             A magistrate judge's recommendation cannot be appealed to a Court of Appeals;
     only the district judge's order or judgment can be appealed.

     2.       Transcript (applicable Where Proceedings Tape Recorded). Pursuant to 28 U.S.C.
     § 1915 and FED.R.CIV.P. 72(b), the Magistrate Judge finds that the tapes and original
     records in this case are adequate for purposes of review. Any party planning to object to this
     recommendation, but unable to pay the fee for a transcript, is advised that a judicial
     determination that transcription is necessary is required before the United States will pay the
     cost of the transcript.




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